         Case 2:25-cr-00003-AWA-RJK               Document 36       Filed 07/18/25      Page 1 of 1 PageID# 314

                                      UNITED STATES DISTRICT COURT                                       rled
                                    EASTERN DISTRICT OF VIRGINIA                                    i^OPEN CDMPT
                                                     Norfolk Division
                                                                                                    JUL 1 8 2025
UNITED STATES OF AMERICA
                                                                                          [
        V.                                                  CRIMINAL NO. 2:25cr3


Brad Kenneth Spafford.

                       Defendant.




                                            WAIVER OF RIGHT TO RULE 11
                           PROCEEDINGS BEFORE A UNITED STATES DISTRICT JUDGE


             I understand that I have a right to have a United States District Judge conduct the hearing, pursuant to Rule

11 of the Federal Rules of Criminal Procedure, to determine that my plea of guilty to the telony charge(s) is/are


knowingly and voluntarily entered. However. 1 desire to waive that right, and I consent to have a United States

Magistrate Judge conduct the hearing, and I further consent to having the Magistrate Judge make the findings

necessary to recommend to the District Judge that my plea be accepted.

             I also understand that once a finding has been made that the plea is knowingly and voluntarily entered and

once the plea has been accepted, 1 will not be pemiitted to withdraw the plea except upon a showing oi a tair and

just reason.




Date:
             ijis/is
                                                           /.
                                                                                    /

                                                          Defendanti^^

Date:
                                                          Defendant’s Counsel


Date:
                                                          United States M^^strate Judge
